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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                  )
                                           )     ORDER RE SUBSTITUTION OF
               Plaintiff,                  )     COUNSEL
                                           )
       vs.                                 )
                                           )     Case No.: 1:16-cr-192
Marvin O'Neal Carter,                      )
                                           )
               Defendant.                  )


       Defendant appeared before the court on September 23, 2016. The court, pursuant to 18

U.S.C. § 3006A, appointed Assistant Federal Public Defender Michelle Monteiro to represent

defendant.

       The court GRANTS Ms. Monteiro leave to withdraw and appoints attorney Jeff Bredahl to

represent defendant in this matter.

       IT IS SO ORDERED.

       Dated this 26th day of September, 2016.

                                                 /s/ Charles S. Miller, Jr.
                                                 Charles S. Miller, Jr., Magistrate Judge
                                                 United States District Court
